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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         )     Chapter 11
                                                               )
ENERGY FUTURE HOLDINGS CORP., et al.,                          )     Case No. 14-10979 (CSS)
                                                               )
                           Debtors.1                           )     (Jointly Administered)
                                                               )
                                                               )     Objection Deadline: May 29, 2014 at 4:00 p.m. (EDT)
                                                                     Hearing Date: June 5, 2014 at 9:30 a.m. (EDT)
                                                               )

         NOTICE OF MOTION OF ENERGY FUTURE HOLDINGS CORP., ET AL.,
               FOR ENTRY OF ORDERS APPROVING CERTAIN EFIH
               SETTLEMENTS AND THE ONCOR TSA AMENDMENT

         PLEASE TAKE NOTICE that, on May 15, 2014, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the attached Motion of Energy Future

Holdings Corp., et al., for Entry of Orders Approving Certain EFIH Settlements and the

Oncor TSA Amendment (the “Motion”) with the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd

Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned proposed

co-counsel for the Debtors on or before May 29, 2014 at 4:00 p.m. (Eastern Daylight Time).

         PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and

received and such objection is not otherwise timely resolved, a hearing to consider such

objection and the Motion will be held before The Honorable Christopher S. Sontchi at the

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    The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted on an interim basis, a complete list of the
    debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the debtors’ claims and noticing agent at
    http://www.efhcaseinfo.com.



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Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware

19801 on June 5, 2014 at 9:30 a.m. (Eastern Daylight Time).

        IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED AND

RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.




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Dated: May 15, 2014                /s/ Tyler D. Semmelman_________________________
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                                   Proposed Co-Counsel to the Debtors and Debtors in Possession




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